

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-62,385-02






EX PARTE CHALISA LYNNE MAYO, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 199-80981-88 IN THE 199TH DISTRICT COURT


FROM COLLIN COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the clerk of
the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte Young, 418
S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of delivery of a controlled substance
and sentenced to fifteen years' imprisonment. She did not appeal her conviction.

	Applicant contends that she is being denied credit for time spent released on mandatory
supervision. Applicant has alleged facts that, if true, might entitle her to relief. Ex parte Spann, 132 S.W.3d
390 (Tex. Crim. App. 2004). In these circumstances, additional facts are needed. As we held in Ex parte
Rodriguez, 334 S.W.2d 294, 294 (Tex. Crim. App. 1997), the trial court is the appropriate forum for
findings of fact.

	The trial court may use any means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d), in that
it shall order the Texas Department of Criminal  Justice's Correctional Institutions Division and Parole
Division to file affidavits listing Applicant's sentence begin date and the dates of issuance of any parole-revocation warrants leading to the revocation of Applicant's mandatory supervision.  The affidavits should
state whether Applicant is serving a sentence for, or has previously been convicted of, an offense listed in
Tex. Gov't Code § 508.149(a) at the time of Applicant's revocation. The affidavits should also address
how much time was remaining on this sentence on the date Applicant was released on mandatory
supervision, and how much time Applicant spent on release before the issuance of the revocation warrant.
The affidavits should state whether Applicant is receiving credit for any of the time spent on mandatory
supervision. Finally, the affidavits should indicate whether Applicant has submitted her claim to the time
credit resolution system of TDCJ, and if so, the date when the claim was submitted.

	The trial court may also order depositions, interrogatories or a hearing. In the appropriate case,
the trial court may rely on its personal recollection. Id.  If the trial court elects to hold a hearing, it shall
determine whether Applicant is indigent. If Applicant is indigent and wishes to be represented by counsel,
the trial court shall appoint an attorney to represent him at the hearing. Tex. C ode Crim. Proc. art. 26.04.

	The trial court shall make findings of fact first as to whether Applicant has properly exhausted her
administrative remedies under Tex. Gov't  Code § 501.0081(b)-(c). The trial court shall then make
findings as to whether Applicant is eligible to earn street time credit, and if so, whether she is entitled to
credit for her time spent on release. The trial court shall also make findings as to whether Applicant is
receiving the proper amount of credit for that time. The trial court shall also make any other findings of fact
and conclusions of law that it deems relevant and appropriate to the disposition of Applicant's claim for
habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues. The issues
shall be resolved within 90 days of this order. If any continuances are granted, a copy of the order granting
the continuance shall be sent to this Court. A supplemental transcript containing all affidavits and
interrogatories or the transcription of the court reporter's notes from any hearing or deposition, along with
the trial court's supplemental findings of fact and conclusions of law, shall be returned to this Court within
120 days of the date of this order. Any extensions of time shall be obtained from this Court. 

Filed: November 7, 2007

Do not publish


